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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
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                                                                                           ---"
                                                                                                   DEC - 9 2014
GIOVANNI        BELL, pro se                             •
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                 Petitioner                              •                                    o._tnf~~ePl/fV
                                                                                         rf,_..=...-:----
                                                         •
v.                                                       •             Civil No. PJM 13-1682
                                                         •             Crim. No. PJM 07-0160
                                                         •
UNITED STATES OF AMERICA                                 •
                                                         •
                 Respondent                              •
                                       MEMORANDUM              OPINION


        Giovanni Bell, pro se, has tiled a Motion to Vacate, Set Aside, or Correct Sentence under

28 U.S.c. 92255 [Paper Nos. 262,264 and 276]. Having considered the Motion and the

Government's Opposition, the Court will DENY the Motion.

                                                         I.

        A Grand Jury returned a Superseding Indictment charging Bell with: (1) conspiracy to

commit bank robbcry; (2) bank robbery; (3) using, carrying and brandishing a tireann during and

in relation to a crime ofviolencc; (4) felon in possession of lire arms; and (5) violent felon in

possession of body armor. A petit jury subsequently convicted him on all counts.!

        Bell was sentenced to life imprisonment, five years of supervised release and ordered to

pay $65,499 in restitution. He'is serving his time at the United States Penitentiary, Hazelton, in

Bruceton Mills, West Virginia.

        On December I, 2011, the Fourth Circuit affirmed this Court's final judgment and on

April 23, 2012, the Supreme Court denied Bell's petition for wTit of certiorari.




Ian the conspiracy count, Bell was found guilty along ,,,,'jthhis two co-defendants (Richol Griner and Jude Eligwe)
and two others (Timothy Slobig and Kevin James).
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         On April 12,2013, Bell filed a Motion for Extension of Time to file the present Motion.

On April 19,2013, he filed a second Motion for Extension of Time. In both of these motions,

Bell cited a prison lockdown and restricted access to the law library as justifications for the

extensions, as well as restricted access to his case files by his defense attorney. The Government

objected to both motions. Bell filed a more substantive Motion to Vacate on June 11,2013. On

July 2, 2013, the Court issued an Order construing Bell's Motions for Extension of Time as his

                                                                                               2
MOlion to Vacate, and his June 11,2013            filing as a supplement to that Motion.

                                                          II.

         Having reviewed Bell's petition, which, to be sure, is somewhat murk/,                    the Court has

distilled Bell's claims to be the following: that the Court erred (1) when it admitted certain

photographs into evidence; (2) when it denied Bell's Motion to Suppress evidence obtained from

an allegedly illegal search and seizure; and (3) when it refused to suppress a statement made by

Bell in a purported violation of his Fifth Amendment rights. He also alleges ineffective

assistance of counsel with respect to each alleged Court error.

          In response, the Government argues that all of Bell's grounds for relief are either time-

barred, procedurally barred, procedurally defaulted, or otherwise without merit. For the reasons

set forth below, the Court agrees with the Government and Bell's Motion to Vacate will be

DENIED.

                                                         III.

          The Court considers first whether Bell's Motion to Vacate is timely.

'On October 24, 2014, Bell filed a document styled as a Motion for Leave to Amend the Motion to Vacate, but
which the Court will construe as a motion for leave to file a sur-reply. The sur-reply largely rehashes arguments
advanced in Bell's other briefs.

3 Bell raises a myriad of other issues, all of which could have been pursued on direct appeal. If these issues were in
fact raised on appeal, they are procedurally barred; if they were not raised on appeal, they are procedurally
defaulted. In any event. Bell does not elaborate as to how counsel may have been ineffective for failing to raise
these issues.

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                                                              A.

           The Government        argues that the Motion is untimely and that application               of the doctrine

of equitable     tolling is inappropriate.      Allhough      the Court has already considered          this argument

and rejected it, the Court engages the issue again in this Opinion.

           AS 2255 Motion to Vacate must be liled within one year of the date the judgment                         of

conviction     becomes       final. 28 U.S.c.    S 2255(1).    A judgment      of conviction     is considered    final on

the date the Supreme Court denies a petition for certiorari,                after a petitioner    seeks review of the

court of appeals' judgment          affirming    his conviction.       Uniled Slales 1'. Segers. 27 I FJd        181, 186

(4th Cir. 2001).      This time limit is subject to equitable           tolling as an "extraordinary        remedy."

United Slales 1'. PrescolI, 221 F.3d 686, 688 (4th Cir. 2000).

           At least once Circuit has held that district courts lack jurisdiction               to extend the time to

file a S 2255 motion to vacate, unless the motion to extend is accompanied                        or preceded    by the

motion to vacate.        See Green v. Uniled Slales, 260 F.3d 78, 82-83 (2d Cir. 200 I); United Stales

1'. Leon,    203 F.3d 162, 164 (2d Cir. 2000) (federal court lacks jurisdiction                  to consider timeliness

of a S 2255 petition until a petition is actually tiled).              Denial of Bell's petition for certiorari

occurred     on April 23, 2012.       His S 2255 Petition, therefore,         was due on April 22, 2012.

However,       recognizing     that Bell was representing          himselt~ that there had been a prison lockdown

and restricted     access to the prison. library, and construing           his pleadings   liberally, see Haines v.

Kemer, 404 U.S. 5 I 9,520-2 I (1972), the Court accepted his Motions to Extend as his S 2255

Motion to Vacate, as supplemented               by his June II pleading.

            The Court therefore      found Bell's Motion to Vacate to have been timely filed.

                                                              IV.

            The Court next considers         whether Bell's claims are procedurally            defaulted.



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                                                   A.

        A claim which could have been but was not raised on a petitioner's direct appeal may not

be raised in a S 2255 petition unless there is demonstrable cause for the petitioner's failure to

raise the claim in that appeal, and actual prejudice is shown to have resulted from the alleged

error. Uniled Slales v. Frady, 456 U.S. 152, 168-70 (1982). "The existence of cause for a

procedural default must turn on something external to the defense, such as the novelty of the

claim or a denial of effcctive assistance of counsel." Uniled Slales v. Mikalajllnas, 186 F.3d 490,

493 (4th Cir. 1999). The standard for prejudice is that the alleged error that led to the issue not

being brought on appeal worked to the petitioner's "actual and substantial disadvantage,

infecting his entire trial with erroL" Frady, 456 U.S. at 170.

                                                   B.
        Bell's first asserted ground for relief is that the Court erred in admitting certain

photographs into evidence, namely surveillance photographs taken during the bank robbery. He

claims the jury was told that he was the subject of the photographs. In Bell's third asserted

ground for relief, he says that the Court wrongfully admitted as evidence his incriminating

statements to the police that he claims were coerced in violation of his 5th Amendment rights.

Bell did not raise these grounds on direct appeal, which he clearly could have done, but says now

he did not do so due to ineffective assistance apparently of both trial and appellate counsel.

While these arguments may be raised by way of an ineffective assistance claim, which the Court

discusses iI?fra, they are otherwise unquestionably procedurally defaulted. In any event,

however, Bell has also failed to demonstrate that reasonable prejudice resulted from the failure to

raise the claim earlier; he has not shown that it so "infected [his] entire trial with error of

constitutional dimensions", id., given the other overwhelming evidence introduced against him.



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                                                 V.

       The Court next considers whether Bell's claims are procedurally barred.

                                                 A.

       A petitioner cannot re-raise arguments in a S 2255 motion that were already raised on

direct appeal. Withrow v. Williams, 507 U.S. 680, 721 (1993) (Scalia, J., concurring); Uniled

Slales v. Linder, 552 r.3d 391,396-97 (4th Cir. 2009). Furthermore, a petitioner may not raise

successive claims in as 2255 Motion to Vacate by asscrting different legal theories in support of

the same objection. Sanders v.   u.s., 373 U.S.!. 15-16 (1963).
                                                 B.
       In his second and third grounds he asserts for relief: Bell alleges that the Court erred by

failing to suppress inadmissible evidence. In his second ground, Bell says that the Court

erroneously admitted evidence that was obtained based on a warrantless search and seizure of his

apartment. His theory is that the police used information obtained during this warrantless search

(including Bell's true identity, and the presence of contraband in the house) to intimidate him

into making incriminating statements. Those statements were then incorporated into the aflidavit

upon which the second, warranted search relied. In his third ground, Bell says that the Court

erroneously admitted evidence that was obtained through coercive means. His theory is that the

police threatened him with a taser in the fingerprint room, inducing him to make incriminating

statements. Those statements were then incorporated into the aflidavit upon which the second,

warranted search relied. Bell argues that all evidence obtained as fruit of the warrantless search

as well as the coercive questioning - in particular, the evidence obtained through the warranted

search - were therefore infected with inadmissibility




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       However, Bell clearly raised both of these arguments on direct appeal, where they were

rejected. Attempting to repackage them now as different claims affords Bell no relief The

arguments are procedurally barred because they are based upon the same claims previously

raised on appeal.

                                                VI.

       Finally, the Court considers Bell's two claims of ineffective assistance of counsel.

                                                 A.

       The two-part test set forth in Strickland \'. Washington, 466 U.S. 668 (1984) governs

ineffective assistance of counsel claims. A convicted defendant must show that (1) counsel's

"performance fell below an objective standard of reasonableness, and (2) that [the defendant]

was prejudiced by the deficiency because it created a reasonable probability that but for

counsel's errors, the result of the proceeding would have been different."   United States \'. Hoyle,

33 FJd 415, 418 (4th Cir. 1994). In an ineffective assistance claim, the defendant bears the

burden of proof as to both prongs, both of which must be carried to entitle him to relief. See

Strickland, 466 U.S. at 697 ("there is no reason for a court dcciding an ineffective assistance

claim ... to address both components of the inquiry if the defendant makes an insufficient

showing on one."); see, e.g., Booth-El \'. Nuth, 288 F.3d 571, 583 (4th Cir. 2002) (denying an

ineffective assistance of counsel claim because thc defendant could not demonstrate that

counsel's conduct prejudiced him).

       To be considered ineffective, counsel's performance must fall outside ofa "wide range of

reasonable professional assistance." Strickland, 466 U.S. at 668. The range, it must be said, is

quite wide. Even where counsel has introduced incriminating information or damaging

testimony and counsel's actions may be found "unreasonable," the first prong under Strickland,



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the errors may still not amount to prejudice under that case. See Harding 1'. Siernes, 380 F.3d

1034, 1044-45 (7th Cir. 2004). Appellate counsel on appeal is not required to raise all possible

issues on direct appeal, and will not be considered ineffective on those grounds alone. Jones 1'.

Barnes, 463 U.S. 745,751-54 (1983). Among other things, counsel is generally not considered

deficient ifhe exercises discretion to discard weaker arguments on appeal. Id. at 751-54.

                                                                B.

         Bell asserts that his appellate counsel was ineffective because he did not raise the issue of

the admissibility of the surveillance photographs on appeal. Appellate counsel was hardly

unreasonable in failing to revive this issue. The photographs were presented to the jury as

photographs of a bank robbery in progress depicting an unknown subject. The prosecutor was

free to argue that the subject in the photographs was Bell and the jury was free to accept or reject

that argument. Indeed it is not known whether the jury believed the subject to be Bell, since

there was ample other evidence tying him to the robbery. In any event, the Court properly left

the question of the identity of the person in the photographs to the jury. Neither trial nor

appellate counsel mis-stepped on this matter. That is, Bell's appellate counsel cannot be in any

way faulted for discarding this argument on appeal. See Jones, 463 U.S. at 754. Counsel could

reasonably select the "most promising issues for review," id. at 752-53, and discard totally

unpromising issues such as this, along the way.4



4 In his document   styled as a Motion for Leave to Amend the Motion to Vacate, Bell attaches a letter that Bell wrote
to his appellate counsel purporting to instruct appellate counsel to incorporate the issue of the admissibility of the
photographs into the appeal, and to include certain facts regarding the alleged warrantless search. Bell's letter
instructs appellate counsel to do so in order prevent these issues from being barred at a later date because they were
nol raised in a direct appeal. Bell cites this letter in support of his ineffective assistance claim. However, a criminal
defense attorney is obligated to follow his client's wishes only with regard to the fundamental issues that l11ust be
personally decided by the client; e.g., pleading guilty, waiving a jury, taking the stand, and appealing a conviction or
sentence. See United States v. Chapman, 593 F.3d 365, 369 (4th Cir. 20 I0). The client's expressed disagreement
with counscl's tactical dccisions cannot somehow convert the mattcr into onc that must be decided by the client. See
id. As the Court has previously held, counsel's decision not to abide by the wishes of his client has no necessary
bearing on the question of professional competence; indeed, in some instances, listening to the client rather than to

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                                                            c.
         Bell's second ineffective assistance claim is that trial counsel cited inadmissible

information with respect to firearms found during the police search of Bell"s apartment. Here,

Bell appears to refer to trial counsel's opening argument, where he conceded that "[Bell is] guilty

of possession of those guns that were in his apartment."; Bell appears to conclude that trial

counsel's argument, and the Government's subsequent references to this argument, necessarily

constituted an admission into evidence of Bell's allegedly coerced statement to the police. Not

so. In the transcript eited by Bell, neither the Government nor Bell's trial counsel make any




the dictates of professional judgment may itself constitute incompetence. /laynes v. Uniled Slales, 451 F. Supp. 2d
713,718 (D. Md. 2006) (quoting u.s. v. McGill, II F.3d 223, 227 (1st Cir.1993)).

5 Bell asserts that Bell's trial counsel used Bell's allegedly coerced statement, in which Bell admitted to possessing
guns in his apm1ment, in trial counsel's opening argument. See Tr. 84: 16-23, ECF No. 187.

         Mr. Ticknor:       These were things that were in his apartment for which people. Mr. Slobig paid
                            him money, and that's the cold, hard, unvarnished truth. But what does that say
                            if, in fact, you find it. What it says is that he's guilty of possession of those guns
                            that were in his apartment. Fine. But it does not say and will not say that he's
                            guilty of a conspiracy to rob a bank or that he did rob a bank, or that he
                            employed,   brandished,   carried or otherwise   had a gun in relationship   to that
                            bank robbery.

Bell asserts that the Government then used the allegedly coerced statement in their closing. See Tr. 85:24-86:6,     ECF
No. 194.

         Ms. Glatfelter:    The guns were found in the apartment just like this, laying out in the open. He
                            had keys to that apartment, he had the ability to control those guns. And, in fact,
                            in opening statement, Mr. Ticknor told you he was holding-
         Mr. Ticknor:       Objection, objection to what was said in opening statement or else I'll go into it
                            in full.
         The Court:         Let's move on to something else.

Finally, Bell asserts that the Government used the allegedly coerced statement in the redirect. See Tr. 193:5-11, ECF
No. 194.

         Ms. Johnston:      I quite frankly don't know where to begin here. Mr. Ticknor, who brought out
                            his linle chart for opening, forgot to tell you thaI in opening he admitted that-
         Mr. Ticknor:       Objection, Your Honor.
         The Court:         Overruled.
         Ms. Johnston:      He admitted in his openir.g statement that his client possessed those guns.

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reference to the allegedly coerced statement.6 Indeed, the Court determined before trial that the

search was legal and that the fact that firearms were found would therefore be admissible.                    Even

if it was incautious for counsel to concede that Bell unlawfully possessed firearms, the

evidentiary basis for counsel's concession - quite apart from any allegedly coerced statement

made by Bell- was overwhelming. Accordingly, even assuming that Bell's statement to the

police was coerced and therefore inadmissible, neither trial counsel nor the Government

introduced that inadmissible infonnation into evidence.

         But regardless of counsel's performance, Bell has not demonstrated prejudice. The

totality of the evidence against him was so substantial, that there was no reasonable probability

that he would have been found innocent "but for counsel's unprofessional errors." Strickland,

466 U.S. at 694.     Where counsel has introduced incriminating infonnation or damaging

testimony, courts have found that counsel may be "unreasonable," but that unreasonableness is

non-prejudicial.    Harding v. Sterne.I', 380 FJd 1034 (7th Cir. 2004) (finding counsel's

performance unreasonable but not prejudicial where he raised his client's prior conviction for

armed robbery during re-examination);            Freeman v. Leapley, 519 N.W.2d 615 (S.D. 1994)

(finding defense counsel's introduction of an incriminating police report was unreasonable but

non-prejudicial).

         Bell's claim of ineffective assistance of counsel as to this claim is rejected.




6 The Court observes that the Government explicitly and intentionally declined to offer Bell's allegedly coerced
statement to the police into evidence.

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                                                 VII.

       For the foregoing reasons, Bell's Motion to Vacate, Set Aside or Correct Sentence Under

28 U.S.c. 9 2255 is DENIED. Bell's filing styled as a Motion for Leave to Amend the Motion to

Vacate is MOOT.

                                                VIII.

       Rule II(a) of the Rules Governing 9 2255 cases provides that the district court "must

issue or deny a certificate of appealability when it enters a final order adverse to the applicant."

A eertilicate of appealability will not issue absent "a substantial showing of the denial of a

constitutional right." 28 U.S.c. 92253(c)(2).   A prisoner satisfies this standard by demonstrating

that reasonable jurists would lind that any assessment of the constitutional claims by the district

court is debatable or wrong, and that any dispositive procedural ruling by the district court is

likewise debatable. See Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel,

529 U.S. 473,484 (2000). The Court has considered the record and finds that Bell has not made

the requisite showing here.

        A separate Order will ISSUE.




                                                               ER .1. MESSITTE
                                                              ATES DISTRICT .IUDGE
December?: 2014




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